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                                      UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

Case: 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al,
       21-md-2981 In re: Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                    PLAINTIFFS ATTORNEY:                DEFENSE ATTORNEY:
 James Donato                              Lauren Moskowitz, Yonatan           Lauren Bell, Jonathan Kravis,
                                           Even, Gary Bornstein, Brent         Michelle Chiu, Brian Rocca, Kuru
                                           Byars, Andrew Wiktor                Olasa, Kyle Mach,
                                                                               Justin Raphael, Glenn Pomerantz,
                                                                               Nick Sidney
 JURY TRIAL HEARING DATE:                  REPORTER(S):                        CLERK:
 11/15/2023                                Kelly Shainline                     Lisa R. Clark

 PLF      DEF TIME
 NO.      NO. OFFERED ID REC DESCRIPTION                                                                  BY
              9:21 am        Court in session out of the presence of the jury.
                 9:35 am                     Court in session all parties and jury present.
                 9:37 am                     Plaintiff’s call Kirsten Rasanen direct examination.
 1436                           X    X       Undated Play Console help page titled "Payments"             LRC
                                             Witness shown Demonstrative 1
                                             Email from K. Rasanen to P. Feng re Prep Doc for Spotify
 1442                           X    X                                                                    LRC
                                             Meeting (11/27/2017)
                                             Witness shown exhibit 704
 8582                           X            No description provided
                                             Witness shown exhibit 704
 8574                           X    X       No description provided                                      LRC
 5820                           X    X       Email re Play Payment Policy -- Carrier Plan.                LRC
 8539                           X    X       No description provided                                      LRC
                                             Email from K. Rasanen to J. Rosenberg et al re GPB
 1440                           X    X                                                                    LRC
                                             Grandfathering Discussions Update (02/07/2018)
 1417                           X    X       10/17/2017 email from K. Rasanen to S. Samat                 LRC
 8554                           X    X       No description provided                                      LRC
                                             Witness shown exhibit 8555
 8555                           X    X       No description provided                                      LRC
 8573                           X    X       No description provided                                      LRC
                                             Presentation titled, "Compute - Playform & Ecosystem -
 436                            X    X                                                                    LRC
                                             Devices & Services - Board of Directors Update"
 290                            X    X       Pixel Switching Study Presentation (01/18/2017)              LRC
                                             Witness shown exhibit 436
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                             Slide deck titled, "Android Consideration: Likely
1766               X   X                                                                    LRC
                             Purchasers and Recent Purchasers"
1768               X   X     Slide deck titled, "Android Brand Health" (09/08/2020)         LRC
1764               X   X     "Excel workbook titled, ""30(b)(6)"" (         2/12/2020)"     LRC
        10:45 am             Jury in recess.
        10:52 am             Court in recess
                             Court in session all parties and jury present. Cont’d direct
        11:06 am
                             examination of Kirsten Rasanen.
                             Witness show exhibit 1764, 1766,
11409              X   X     Charts Used by Plaintiff re: Kirsten Rasanen                   LRC
        11:11 am             Cross-examination of Kristen Rasanen
                             Witness shown exhibit 8573, 1436, 704
5973               X   X     6/20/2018 Email from S. Karam to P. Kochikar                   LRC
                             Witness shown exhibit 1766, 1768, 1764,
        11:58 am             Re-direct of Kirsten Rasanen.
                             Witness shown 1766, 1768,
                             Email from K. Rasanen to J. Rosenberg re (For Your
1438               X   X                                                                    LRC
                             Preview) Policy Update Open Questions (09/18/2017)
                             Witness shown exhibit 5973
8033               X   X     No description provided                                        LRC
                             Witness shown exhibit 8573
        12:19 pm             Re-cross by defendant
        12:20 pm             Court in recess
        1:01 pm              Plaintiff’s call David Kleidermacher direct examination.
                             Witness shown Demonstrative #10
                             Messages between E.Liderman to D.Kleidermacher
768                X   X                                                                    LRC
                             (09/25/2020)
8591               X   X     No description provided                                        LRC
                             Email from J.Woloz to B.Bilodeau et al. re Request for
1172               X   X                                                                    LRC
                             Fortnite Signing keys (08/11/2018)
                             Witness shown exhibit 761,
122                X   X     Fortnite Task Force (08/06/2018)                               LRC
762                X   X     8/15/2018 email from D. Kleidermacher to W. Luh                LRC
8576               X   X     No description provided                                        LRC
                             Witness shown exhibit 122

        2:15 pm
                             Court a in recess
                             Court in session all parties and jury present. Cont’d direct
        2:35 pm
                             examination of David Kleidermacher.
        2:37 pm              Cross-examination of David Kleidermacher
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                                   Witness shown exhibit 122,
                                   Undated presentation titled "Android Feature Audit" pg 46
       5945              X   X                                                                 LRC
                                   only
9051                     X   X     Video                                                       LRC
9052                     X   X     Video
9053                     X   X     Video
              3:15 pm              Re-direct of David Kleidermacher.
                                   Witness shown demonstrative and exhibit’s 905, 5945, 8576
                                   Article titled "Man-in-the-Disk: A New Attack Surface for
                                   Android Apps," from
8009                     X   X                                                               LRC
                                   https://blog.checkpoint.com/security/man-in-the-disk-a-
                                   new-attack-surface-for-android-apps/
              3:28 pm              Jury at recess.
                                   Court in recess
              3:33 pm

                                   Plaintiff has 1140 minutes left.
                                   Defendant has 1836 minutes left.




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